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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                            BOWLING GREEN DIVISION

                                  Electronically Filed

 ASHLEY CANTERBURY                                                              PLAINTIFF
 and
 FRANKLIN CANTERBURY III                                       INTERVENING PLAINTIFF


 v.                                              CIVIL ACTION NO.: 1:18-cv-00169-GNS


 BERTIS CARLSON TRUCKING, INC.
 and
 CHARLES L. HOLMES                                                           DEFENDANTS


                                   AGREED ORDER

                   EXTENDING PLAINTIFFS’ EXPERT DEADLINES

       The parties being heard and the Court being otherwise sufficiently advised;

       IT IS HEREBY ORDERED that the Plaintiff and Intervening Plaintiff are hereby

 granted a six (6) – month extension of their expert witness deadlines. This makes the

 Plaintiff’s and Intervening Plaintiff’s new deadline December 3, 2019 and the Defedants;

 new deadline February 1, 2020. All other deadlines from the Court’s January 14, 2019

 scheduling order are similarly extended by six (6) months.




                                                              June 4, 2019




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 Tendered by:

 Brian D. Cook
 BAHE COOK CANTLEY & NEFZGER PLC
 1041 Goss Ave.
 Louisville, KY 40217
 brian@bccnlaw.com
 (502) 587-2002 – Telephone
 (502) 587-2006 – Facsimile
 Counsel for Plaintiff, Ashley Canterbury

 and

 Johnny B. Bruce
 BRUCE LAW GROUP
 1041 Goss Ave.
 Louisville, KY 40217
 (502) 851-3522
 johnny@injurylaw-ky.com
 Counsel for Intervening Plaintiff,
 Franklin Canterbury Ill, Executor of
 the Estate of Franklin Canterbury ll

 and

 Stockard R. Hickey III
 KOPKA PINKUS DOLIN, PC
 462 South Fourth Street, Suite 101
 Louisville, KY 40202
 (502) 785-2818 – Telephone
 srhickey@kopkalaw.com
 Counsel for Defendants Bertis Carlson Trucking Inc.
 and Charles L. Holmes




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